Case 2:O5-cr-20lOO-SHI\/| Document 21 Filed 07/14/05 'P_age 1 of 2 Page|D 25

 

IN THE UNITED STATES DISTRICT COU'E%ED BY
FOR TI'IE WESTERN DISTRICT OF TENNES§ ;05
WESTER.N DIVISION EHL |l. AH“

m memo

`f?` ':;: .‘1_+‘.;:3 ‘\P‘ t
UNITED sTATES oF AMERICA, WIDO\ !_____SV.HFS

Plaintiff,
Vs. CR. NO. 05-20100-Ma

KEETRICK MCKINNEY,

Defendant.

 

ORDER ON CONTIN'UANCE AND SPECIF`YING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on June 24, 2005.
Defense Counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case and to
allow for the disposition of the pending Motion to Suppress.

The Court granted the request and continued the trial date to
the rotation docket beginning September 6, 2005 at 9:30 a.m., with
a report date of Friday, August 26, 2005 at 2:00 p.m.

The period from June 24, 2005 through September 16, 2005 is
excludable under 18 U.S.C. §§ 3161(h)(8)(B)(iv) and 3161(h)(l)(F)
because the interests of justice in allowing additional time to
prepare and the need to dispose of the pending motion outweigh the

1314`

need for a speedy trial.

IT IS SO ORDERED this day of July, 2005.

M»M-`

SAMUEL H. M.AYS, JR.
U'NITED STATES DISTRIC'I‘ JUDGE

 

Th'ss document entered on the docket sheet ln compliance

with ama 55 and/or 32;\:1 mch on __j__-__S._Q$ /

UNITD SATES ISTRIC COURT - WETERN DISITRCT oF TENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:05-CR-20100 Was distributed by faX, mail, or direct printing on
July ]5, 2005 to the parties listed.

 

 

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

J Patten Brown

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

